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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                         :
 THE TRUSTEES OF THE STEVENS INSTITUTE                   : Docket No.:
 OF TECHNOLOGY,                                          :
                                                         :       Civil Action
                         Plaintiff,                      :
                                                         : PLAINTIFF’S COMPLAINT AND
        -vs-                                             : DEMAND FOR JURY TRIAL
                                                         :
 IMODALGROUND, L.L.C., INTER-MODAL                       :
 HOLDING, L.L.C., JOHN DOES 1-10, and ABC                :
 COMPANIES 1-10,                                         :
                                                         :
                         Defendants.                     :
                                                         :

       Plaintiff, THE TRUSTEES OF THE STEVENS INSTITUTE OF TECHNOLOGY

(hereinafter referred to as “STEVENS” and/or “PLAINTIFF”), located at One Castle Point on

Hudson, Hoboken, New Jersey 07030, by and through its attorneys, Callahan & Fusco, LLC, as

and for its Complaint against Defendants, IMODALGROUND, L.L.C., INTER-MODAL

HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, alleges upon information

and belief as follows:

                                            PARTIES

       1.      STEVENS is a non-profit corporation organized and existing under the laws for the

State of New Jersey.

       2.      STEVENS maintains a principal place of business located at One Castle Point on

Hudson, Hoboken, New Jersey 07030.

       3.      IMODALGROUND, L.L.C. is a limited liability company organized and existing

under the laws for the State of Delaware.




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          4.    IMODALGROUND, L.L.C. maintains a principal place of business located at 112

S. 24th Street Weirton, West Virginia 26062.

          5.    IMODALGROUND, L.L.C. is a limited liability company authorized to conduct

business within the State of New Jersey.

          6.    INTER-MODAL HOLDING, L.L.C. is a limited liability company organized and

existing under the laws for the State of Ohio.

          7.    INTER-MODAL HOLDING, L.L.C. maintains a principal place of business

located at 117 S. Hollywood Boulevard Steubenville, Ohio 43952.

          8.    INTER-MODAL HOLDING, L.L.C. is a limited liability company authorized to

conduct business within the State of New Jersey.

          9.    JOHN DOES 1-10 are fictitious entities who are individuals subject to this action

but are not disclosed at this time.

          10.   ABC COMPANIES 1-10 are sole proprietorships, limited liability companies,

and/or corporations authorized to conduct business within the State of New Jersey.

                                             VENUE

          11.   STEVENS repeats and realleges each and every allegation set forth in paragraphs

“1” through “10” with the same force and effect as if set forth with more particularity at length

herein.

          12.   This matter is properly venued in the United States District Court for the District

of New Jersey pursuant to 28 U.S.C. §1332, et seq.

          13.   STEVENS is domiciled, and therefore a citizen, of the State of New Jersey pursuant

to 28 U.S.C. §1332(a)(1) and 28 U.S.C. §1332(c)(1).




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          14.   IMODALGROUND, L.L.C. is a citizen of the State of Delaware and the State of

West Virginia pursuant to 28 U.S.C. §1332(a)(1) and 28 U.S.C. §1332(c)(1).

          15.   INTER-MODAL HOLDING, L.L.C. is a citizen of the State of Ohio pursuant to

28 U.S.C. §1332(a)(1) and 28 U.S.C. §1332(c)(1).

          16.   Additionally, by virtue of the Corporate Sponsored Research Agreement, dated

September 30, 2020, all parties to this litigation agreed that the United States District Court for the

District of New Jersey, Newark Vicinage, is a proper venue to address any disputes and/or

controversies related to the Corporate Sponsored Research Agreement. See a copy of the Corporate

Sponsored Research Agreement, dated September 30, 2020, attached hereto as Exhibit “A”; see

also Exhibit “A”, paragraph 21.

          17.   The contractual amount to be paid by the Defendants according to the Corporate

Sponsored Research Agreement is $3,300,000.00. See generally, Exhibit “A”.

          18.   Accordingly, the amount in controversy exceeds the value of $75,000.00 pursuant

to 28 U.S.C. §1332(a).

                                   FACTUAL ALLEGATIONS

          19.   STEVENS repeats and realleges each and every allegation set forth in paragraphs

“1” through “18” with the same force and effect as if set forth with more particularity at length

herein.

          20.   STEVENS, as an educational institution, regularly undertakes research activities in

a variety of academic disciplines.

          21.   STEVENS was retained to undertake research activities supported by Defendants,

IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC




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COMPANIES 1-10, via a Corporate Sponsored Research Agreement, dated September 30, 2020.

See Exhibit “A”.

       22.     STEVENS undertook research activities supported by the Defendants,

IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC

COMPANIES 1-10, in the field of Maritime and Aviation Low Cost Sensors. See Exhibit “A”.

       23.     Specifically, STEVENS undertook research activities supported by the Defendants,

IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC

COMPANIES 1-10, relating to a Passive Acoustic Underwater Intruder Detection System. See

Exhibit “A”.

       24.     STEVENS began the research program on or about October 1, 2020, pursuant to

the terms of the Corporate Sponsored Research Agreement, including naming a principal

investigator to supervise the research activities. See Exhibit “A”.

       25.     On or about November 11, 2021, a Modification of the Corporate Sponsored

Research Agreement to alter the effective term of the contract to October 1, 2020 through March

31, 2023 was executed by all parties, including the Defendants. See a copy of the Modification,

dated November 11, 2021, of the Corporate Sponsored Research Agreement is attached hereto as

Exhibit “B”; compare with Exhibit “A”.

       26.     In accordance with the Corporate Sponsored Research Agreement, STEVENS

issued an invoice, dated June 9, 2021, for $3,300,000.00, the full amount noted in the Agreement.

See a copy of the Invoice dated, June 9, 2021, issued to Defendant IMODALGROUND, L.L.C.

and INTER-MODAL HOLDING, L.L.C., attached hereto as Exhibit “C”.

       27.     Defendants IMODALGROUND, L.L.C. and INTER-MODAL HOLDING, L.L.C.,

failed to timely pay the invoice after receiving same. See generally Exhibit “C”.



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       28.     On December 6, 2021, STEVENS contacted the Defendants, IMODALGROUND,

L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10,

regarding the outstanding payment and again followed up on the outstanding invoice on December

15, 2021. See a copy of the correspondences, dated December 2021, between STEVENS and

Defendants IMODALGROUND, L.L.C. and INTER-MODAL HOLDING, L.L.C., attached

hereto as Exhibit “D”.

       29.     A representative for the Defendants, IMODALGROUND, L.L.C., INTER-

MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, indicated that

Defendants were working to provide payment to STEVENS before the end of the year. See

Exhibit “D”.

       30.     In March 2022, STEVENS and Defendants IMODALGROUND, L.L.C. and

INTER-MODAL HOLDING, L.L.C. agreed to enter into a payment plan. See a copy of the

correspondences, dated March of 2022, between STEVENS and the Defendants, attached hereto

as Exhibit “E”; see generally, Exhibit “C”.

       31.     The Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING,

L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, were required to make an initial

payment on the overdue invoice on March 15, 2022 with the “final release” of funds on March 30,

2022. See Exhibit “E”; see generally, Exhibit “C”.

       32.     In early April 2022, STEVENS again followed up with the Defendants,

IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC

COMPANIES 1-10, on the outstanding invoice; however, the Defendants, IMODALGROUND,

L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10,




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continued delaying payment due and owing to STEVENS. See a copy of the correspondences,

dated April 2022, between STEVENS and the Defendants, attached hereto as Exhibit “F”.

       33.     After the Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING,

L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, failed to make payment for more than

ten (10) months on the outstanding invoice, STEVENS sent a formal correspondence, dated April

20, 2022, demanding a response and full payment within five (5) business days. See a copy of the

correspondence, dated April 20, 2022, between STEVENS to Defendants, attached hereto as

Exhibit “G”.

       34.     To date, the Defendants, IMODALGROUND, L.L.C., INTER-MODAL

HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, have failed to make full

payment on the outstanding invoice following STEVENS demand for payment on April 20, 2022

for the research activities undertaken pursuant to the Corporate Sponsored Research Agreement.

See generally, Exhibit “A”; see also Exhibit “C”; see also Exhibit “G”.

       35.     Pursuant to the Corporate Sponsored Research Agreement, STEVENS is owed

$3,300,000.00, and same remains unpaid by the Defendants, IMODALGROUND, L.L.C., INTER-

MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10.

       36.     Since the date of the original invoice, dated June 9, 2021, the Defendants,

IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC

COMPANIES 1-10, have benefited from the research activities undertaken by STEVENS and

supported by the Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C.,

JOHN DOES 1-10, and ABC COMPANIES 1-10, pursuant to the Corporate Sponsored Research

Agreement.




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          37.   The Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING,

L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, have failed to pay the June 9, 2021

invoice for $3,300,000.00 which remains outstanding.

                                      COUNT ONE
                Against iModalGround, L.L.C., Inter-Modal Holding, L.L.C.,
                         John Does 1-10, and ABC Companies 1-10
                                   (Breach of Contract)

          38.   STEVENS repeats and realleges each and every allegation set forth in paragraphs

“1” through “37” with the same force and effect as if set forth with more particularity at length

herein.

          39.   STEVENS knowingly and voluntarily entered into a Corporate Sponsored

Research Agreement, dated September 30, 2020, with the Defendants, IMODALGROUND,

L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10,

to undertake research activities supported by IMODALGROUND, L.L.C., INTER-MODAL

HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10 relating to a Passive

Acoustic Underwater Intruder Detection System.

          40.   STEVENS undertook research activities supported by the Defendants,

IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC

COMPANIES 1-10, pursuant to the Corporate Sponsored Research Agreement.

          41.   STEVENS invoiced the research activities rendered on June 9, 2021, which remains

unpaid, for the contractual amount owed of $3,300,000.00.

          42.   The Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING,

L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, have continued to delay making

payment pursuant to the Corporate Sponsored Research Agreement even after the Defendants,




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IMODALGROUND, L.L.C. and INTER-MODAL HOLDING, L.L.C. agreed to a payment plan

in March of 2022.

          43.    Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C.,

JOHN DOES 1-10, and ABC COMPANIES 1-10, have breached their obligations under the

Corporate Sponsored Research Agreement by failing and continuing to fail to pay the June 9, 2021

invoice for the research activities undertaken by STEVENS.

          44.    As a result of Defendants, IMODALGROUND, L.L.C., INTER-MODAL

HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10’s breach, STEVENS was

caused to suffer damages.

          WHEREFORE, Plaintiff, THE TRUSTEES OF THE STEVENS INSTITUTE OF

TECHNOLOGY, demands judgment from Defendants, IMODALGROUND, L.L.C., INTER-

MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, for compensatory

damages, applicable statutory damages, incidental damages, consequential damages, costs,

including attorneys’ fees, and applicable interest, and such other relief as the Court may deem just

and equitable.

                                       COUNT TWO
                 Against iModalGround, L.L.C., Inter-Modal Holding, L.L.C.,
                          John Does 1-10, and ABC Companies 1-10
                                    (Unjust Enrichment)

          45.    STEVENS repeats and realleges each and every allegation set forth in paragraphs

“1” through “43” with the same force and effect as if set forth with more particularity at length

herein.

          46.    Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C.,

JOHN DOES 1-10, and ABC COMPANIES 1-10, benefited from the research activities supported

by the Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN


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DOES 1-10, and ABC COMPANIES 1-10, and completed by STEVENS, its selected principal

investigator, and other employees and agents working to perform STEVENS’ contractual

obligations without the Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING,

L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, compensating Stevens pursuant to the

Corporate Sponsored Research Agreement.

       47.       Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C.,

JOHN DOES 1-10, and ABC COMPANIES 1-10, benefited from the research activities in an

unjust manner.

       48.       Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C.,

JOHN DOES 1-10, and ABC COMPANIES 1-10’s failure to compensate STEVENS pursuant to

the   Corporate      Sponsored     Research     Agreement      unjustly    enriched    Defendants,

IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC

COMPANIES 1-10.

       49.       STEVENS suffered damages as a result of Defendants, IMODALGROUND,

L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10’s

unjust enrichment.

       WHEREFORE, Plaintiff, THE TRUSTEES OF THE STEVENS INSTITUTE OF

TECHNOLOGY, demands judgment from Defendants, IMODALGROUND, L.L.C., INTER-

MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, for compensatory

damages, applicable statutory damages, incidental damages, consequential damages, costs,

including attorneys’ fees, and applicable interest, and such other relief as the Court may deem just

and equitable.




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                                     COUNT THREE
                Against iModalGround, L.L.C., Inter-Modal Holding, L.L.C.,
                         John Does 1-10, and ABC Companies 1-10
                                    (Quantum Meruit)

          50.   STEVENS repeats and realleges each and every allegation set forth in paragraphs

“1” through “48” with the same force and effect as if set forth with more particularity at length

herein.

          51.   STEVENS undertook research activities supported by the Defendants,

IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC

COMPANIES 1-10, relating to a Passive Acoustic Underwater Intruder Detection System pursuant

to the terms of the duly executed Corporate Sponsored Research Agreement by STEVENS and the

Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN DOES 1-

10, and ABC COMPANIES 1-10.

          52.   It was the expectation of all parties that STEVENS would receive compensation in

connection with the research activities relating to a Passive Acoustic Underwater Intruder

Detection System pursuant to the terms of the duly executed Corporate Sponsored Research

Agreement.

          53.   As such an express, implied, and/or quasi contractual agreement was created under

which the Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C., JOHN

DOES 1-10, and ABC COMPANIES 1-10, are obligated to compensate STEVENS for the

research activities undertaken.

          54.   Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C.,

JOHN DOES 1-10, and ABC COMPANIES 1-10’s refusal to compensate STEVENS for the

research activities relating to a Passive Acoustic Underwater Intruder Detection System constitutes

a breach of the express, implied, and/or quasi contractual agreement between the parties.


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          55.    Due to Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING,

L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10’s breach, STEVENS has sustained

damages.

          WHEREFORE, Plaintiff, THE TRUSTEES OF THE STEVENS INSTITUTE OF

TECHNOLOGY, demands judgment from Defendants, IMODALGROUND, L.L.C., INTER-

MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, for compensatory

damages, applicable statutory damages, incidental damages, consequential damages, costs,

including attorneys’ fees, and applicable interest, and such other relief as the Court may deem just

and equitable.

                                      COUNT FOUR
                 Against iModalGround, L.L.C., Inter-Modal Holding, L.L.C.,
                          John Does 1-10, and ABC Companies 1-10
                  (Breach of the Covenant of Good Faith and Fair Dealing)

          56.    STEVENS repeats and realleges each and every allegation set forth in paragraphs

“1” through “54” with the same force and effect as if set forth with more particularity at length

herein.

          57.    Implied within the Corporate Sponsored Research Agreement for the research

activities relating to a Passive Acoustic Underwater Intruder Detection System is the covenant of

good faith and fair dealing.

          58.    Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING, L.L.C.,

JOHN DOES 1-10, and ABC COMPANIES 1-10’s bad faith conduct in connection with

performing their obligations under the Corporate Sponsored Research Agreement between the

parties breached the implied covenant of good faith and fair dealing.




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       59.       Due to Defendants, IMODALGROUND, L.L.C., INTER-MODAL HOLDING,

L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10’s breach of the implied covenant of good

faith and fair dealings, STEVENS has sustained damages.

       WHEREFORE, Plaintiff, THE TRUSTEES OF THE STEVENS INSTITUTE OF

TECHNOLOGY, demands judgment from Defendants, IMODALGROUND, L.L.C., INTER-

MODAL HOLDING, L.L.C., JOHN DOES 1-10, and ABC COMPANIES 1-10, for compensatory

damages, applicable statutory damages, incidental damages, consequential damages, costs,

including attorneys’ fees, and applicable interest, and such other relief as the Court may deem just

and equitable.

                                 DEMAND FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38(b), a Demand for Jury Trial is made as to all triable issues.

                            LOCAL RULE 11.2 CERTIFICATION

       The undersigned certified that, to his knowledge, the matter in controversy is not the

subject of any other action pending in this Court or another court.

Dated: Roseland, New Jersey
       July 5, 2022
                                              CALLAHAN & FUSCO, LLC
                                              Attorneys for Plaintiff,
                                              THE TRUSTEES OF THE STEVENS INSTITUTE
                                              OF TECHNOLOGY


                                              By: _______________________________________
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